      Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 1 of 26




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

JOSEPH McINTYRE and ANNE McINTYRE,
                                                                             COMPLAINT
                               Plaintiffs,
                                                                             Jury Trial Demanded
          -vs-

CORNING INCORPORATED; CLAUDE SULLIVAN;
DAVID MANCHESTER; JOHN WALTER; and
JOHN DOE(S) and JANE DOE(S),

                               Defendants.


          Plaintiffs Joseph McIntyre1 and Anne McIntyre, by and through their attorneys, Bosman

Law Firm, L.L.C., as and for their Complaint against Defendants Corning Incorporated; Claude

Sullivan; David Manchester; John Walter; and John Doe(s) and Jane Doe(s), respectfully allege

as follows:

          1. This is a Complaint under the Rehabilitation Act, the Human Rights Law of the State

of New York, and common law to remedy violations of the rights of the Plaintiffs Joseph

McIntyre and Anne McIntyre for injuries and harm caused by the Defendants, Corning

Incorporated, Claude Sullivan, David Manchester, John Walter, and John Doe(s) and Jane

Doe(s).

                                           JURISDICTION AND VENUE

          2. This action is brought, in part, pursuant to the Rehabilitation Act, 29 U.S.C. § 701, et

seq. and the New York State Human Rights Law, N.Y. Exec. L. § 290 et seq.

          3. This action is for monetary damages as well as for declaratory, injunctive and

          1
              Unless otherwise noted, references herein to “Plaintiff” are to Plaintiff Joseph McIntyre.

                                                             -1-
       Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 2 of 26




equitable relief to redress the deprivation of the Plaintiffs’ rights secured to them by Federal law

and the laws of the State of New York.

        4. Plaintiffs invoke the original and supplemental jurisdiction of this court to decide

claims arising under Federal and New York State law, including, but not limited to, claims that

Defendants committed unlawful discriminatory and retaliatory practices by, inter alia, denying

Plaintiff Joseph McIntyre a position, creating and maintaining a hostile work environment for

him, and otherwise treating him disparately in the terms, conditions and privileges of

employment at Corning Incorporated.

        5. This court has supplemental jurisdiction over Plaintiffs’ New York State law claims,

including Plaintiff Joseph McIntyre’s claims under the New York State Human Rights Law

(Article 15, Executive Law of the State of New York) and Anne McIntyre’s claim under common

law.

        6. It appears that venue is proper in the Western District of New York in that the

unlawful employment practices alleged herein were committed in whole or part in the Western

District.

                                             PARTIES

        7. Plaintiff Joseph McIntyre, at all times relevant to this Complaint, is a male citizen of

the United States and a resident of the State of New York, County of Chemung. He was and is at

all times relevant herein an employee of Corning Incorporated.

        8. Plaintiff Anne McIntyre, at all times relevant to this Complaint, is a female citizen of

the United States and a resident of the State of New York, County of Chemung. She was and is

at all times relevant herein the wife of Plaintiff Joseph McIntyre.


                                                 -2-
      Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 3 of 26




       9. Plaintiff Joseph McIntyre is an “Employee” within the meaning of the Rehabilitation

Act and the Human Rights Law of the State of New York. During all relevant times herein,

Plaintiff suffered from a disability within the meaning of the Rehabilitation Act and the Human

Rights Law.

       10. Corning Incorporated is a corporation governed under the laws of the State of New

York and at all relevant times has its principal place of business in Steuben County, State of New

York. Upon information and belief, Defendant Corning Incorporated is a recipient of Federal

financial assistance via grants and substantial tax credits and also receives Federal contracts.

Defendant Corning Incorporated is also an “Employer” within the meaning of the Human Rights

Law of the State of New York.

       11. At all times hereinafter mentioned, Defendants Claude (Monty) Sullivan, David

Manchester, John Walter, and John Doe(s) and Jane Doe(s) are natural citizens of the United

States and supervisory officials/employees of Corning Incorporated. Defendant Sullivan is the

Director of Aircraft Operations. Defendant Manchester is the Director of Maintenance.

Defendant John Walter is the Supervisor/Manager of Maintenance. At all times relevant hereto,

these individual Defendants had authority over the terms and conditions of Plaintiff’s

employment and/or were aiders or abetters under the Human Rights Law.

                                              FACTS

       12.     Plaintiff Joseph McIntyre has a speech disorder characterized by stuttering, which

substantially limits the major life activity of speaking. He is also regarded as disabled by the

Defendants. He is thus disabled within the meaning of the Rehabilitation Act and the Human

Rights Law of the State of New York.


                                                 -3-
      Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 4 of 26




       13. Plaintiff began working for the Defendant Corning Incorporated on or about June

2008 as a line technician. Therein June 2011, he was also offered and accepted an apprenticeship

to become an aircraft mechanic.

       14. Throughout his employment at Corning Incorporated, Plaintiff has been subjected to

mocking and ridicule because of his speech disorder. He has also been subjected to acts of sexual

harassment.

       15. Defendant Claude Sullivan repeatedly would make fun of Plaintiff because of his

speech disorder, and would do so in the presence of Plaintiff’s co-workers. Defendant Sullivan

would also approach Plaintiff from behind and start massaging his shoulders while alone and in

the presence of co-workers. Plaintiff advised Defendant Sullivan that such conduct was

unwelcome and unwanted.

       16. Such activity interfered with Plaintiff’s ability to do his job and Plaintiff sought to

avoid Defendant Sullivan, rendering his job duties more difficult to perform. In addition to the

unwanted physical contact, Defendant Sullivan subjected Plaintiff to verbal harassment, making,

for example, a comment about him licking the straw of Plaintiff’s iced coffee cup. Defendant

Sullivan stated to Plaintiff that he should think of him (Sullivan) as he sucked on it.

       17. In addition to Defendant Sullivan’s aforementioned conduct, in or about late 2012,

then co-worker John Walter, a Defendant herein, engaged in extremely outrageous behavior by

pulling his pants down in the locker room and making a sexual comment to Plaintiff followed by

a derogatory name.

       18. In or about April 2013, inquiry was made to Plaintiff by Defendant Corning

Incorporated’s Human Resources Department as to the aforementioned incident with John Walter


                                                 -4-
      Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 5 of 26




and also an incident with Defendant Sullivan where he attempted to humiliate Plaintiff in the

presence of co-workers with remarks about Plaintiff’s stuttering. Plaintiff was asked and did

verify that the incidents occurred. Plaintiff thereafter was not advised of the status of any

investigation or outcome that resulted from his meeting.

       19. The aforementioned conduct of Defendant Sullivan continued to occur despite

Plaintiff’s meeting with the Human Resources Department in April 2013.

       20. In or about August 2013, there became available a position in Plaintiff’s current title

with better hours. Plaintiff noted his interest in said position to Supervisor Craig Jordaens. After

Plaintiff expressed his desire in said position, Craig Jordaens, upon information and belief,

consulted with Defendant Sullivan and noted to him Plaintiff’s interest in the position.

       21. Thereafter, Mr. Jordaens advised Plaintiff that “because you stutter, we’re giving the

position to Jason (Horth).” Mr. Jordaens further stated to Plaintiff on this occasion, “I assumed

you would be uncomfortable giving speeches.” However, “giving speeches” is not an essential

component of the job and upon information and belief, Defendant Sullivan only added that

criterion after he learned of Plaintiff’s interest in the position. Plaintiff was denied the position

because of his disability.

       22. On or about September 8, 2013, Plaintiff made a complaint through the “Ethics Point

System” as provided by Defendant Corning Incorporated. A copy of said complaint is attached as

Exhibit “A.” Among other things, Plaintiff noted the aforementioned interaction he had with the

Human Resources Department in April 2013. Additionally, Plaintiff complained about the

conduct of Defendant Sullivan which included massaging Plaintiff’s shoulders, making a

sexually harassing comment, and also mocking his disability.


                                                  -5-
      Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 6 of 26




       23. Thereafter, in September 2013, Plaintiff and other employees were asked by Corning

Incorporated Employee Laurie Fagan about issues they may be having in the company. Plaintiff

mentioned that he was dealing with Human Resources on separate issues but alerted her to the

fact that he was not given a position because of his stutter.

       24. Approximately one week later, Plaintiff was summoned to a meeting attended by Ms.

Fagan and Mr. Jordaens. Plaintiff was advised by Ms. Fagan that Mr. Jordaens was “sorry that he

chose his words wrong.” Ms. Fagan suggested to Plaintiff speech therapy.

       25. On or about September 12, 2013, Plaintiff met with legal counsel for Corning

Incorporated in regards to his Ethics Point complaint. Plaintiff was assured that his allegations

would be kept confidential and not be shared with others.

       26. On or about October 23, 2013, Plaintiff had telephone contact with Human

Resources and legal counsel for Corning about their investigation into his Ethics Point

complaint. Plaintiff was advised that while some of his allegations could not be substantiated,

Defendant Sullivan’s actions in touching and caressing him were corroborated by numerous

employees. However, Plaintiff was further told that he “could’ve have been mistaken” and that

Sullivan’s actions were merely “fatherly” gestures.

       27. As set forth above, Plaintiff engaged in multiple acts of protected activity. Upon

information and belief, said protected activity caused Defendants and other officials at Corning

Incorporated to resent and distrust him. Also, as set forth below, Plaintiff has been subjected to

retaliatory acts of Defendants who doubled down in their retaliatory conduct against Plaintiff

starting in or about November 2014 and continuing to present.

       28. In or about April 2014, Plaintiff came under the supervision of Defendant John


                                                 -6-
      Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 7 of 26




Walter who became a supervisor. Even though Plaintiff was never given an official or unofficial

completion date for his apprenticeship, Defendant Walter, in or about April 2014, stated to

Plaintiff “if you don’t have your license by June 2015, you’ll never be a mechanic at Corning.” A

couple weeks later, Defendant Walter stated to Plaintiff that “if you don’t have your license by

April 2015, you’ll never be a mechanic at Corning.”

       29. Between April and December 2014, Plaintiff at various times would request leave to

take vacation as he was entitled to do so. Plaintiff withdrew multiple requests to take vacation as

he was told by Defendant Walter whenever he would make such a request, “I guess you’re not

serious about becoming a mechanic.”

       30. In early November 2014, Plaintiff made inquiry to Defendant Manchester about

whether Corning Incorporated was going to permit him to attend school to secure his Airframe

and Powerplant License (A&P license). Plaintiff was slated to attend such school in early

December. Defendant Manchester responded with the comment, “you have to prove whether

you’re a giver or a taker.”

       31. On December 2, 2014, Plaintiff officially applied for the position of Aviation

Maintenance Technician, a position where he would be able to use his anticipated A&P license

and achieve greater compensation at Corning Incorporated. This position was traditionally

available to those employees completing the apprenticeship program.

       32. In early December 2014, there was a staff meeting which was presided over by

Defendant Manchester and attended by Plaintiff and co-workers of Plaintiff. Defendant

Manchester stated “we opened it up to Joe to apply but he’s really going to have to impress me.”

Manchester was referring to the position Plaintiff was seeking, to wit: Aviation Maintenance


                                                -7-
      Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 8 of 26




Technician. Thereafter, Defendant Manchester approached Plaintiff at his tool box and told him

he could proceed with going to school.

        33. Shortly after said interaction with Defendant Manchester, Plaintiff had a meeting

with Mr. Jordaens. Mr. Jordaens stated “whatever you do, don’t say anything ... and you’ll

probably have to use your license elsewhere.”

        34. On January 9, 2015, Defendant Manchester called Plaintiff at his home. Later that

day, Plaintiff met with Defendant Manchester. Defendant Manchester stated to Plaintiff that

Defendant Sullivan stated that they were hiring only mechanics with experience. However,

Defendant Manchester also stated “if there is a third opening, you’ll be considered and have a

good shot at it.”

        35. Historically, those who completed the apprenticeship program were given positions

upon their obtaining an A&P license and therefore the experience requirement was merely a

pretext to avoid selecting Plaintiff. Upon information and belief, said requirement was devised

as a way to block Plaintiff’s selection because of his disability and/or protected activities.

        36. On January 9, 2015, after his contact with Defendant Manchester that day, Plaintiff

was contacted by Ken Stacey, a member of the Corning Incorporated Hiring Team. He stated that

they made a selection. He stated that he and Ray Ferry, another member of the Hiring Team,

were very vocal in their support for Plaintiff. Mr. Stacey reported that Mr. Ferry was visibly

upset, and stated that Brad Cole and David Manchester voted against Plaintiff, but the remainder

of the Hiring Team voted for him. They were told that they could keep Jim Barrett, another

applicant for the position, but not Plaintiff.

        37. During this conversation, Mr. Stacey apologized to Plaintiff and attributed his


                                                 -8-
      Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 9 of 26




(Plaintiff’s) non-selection to Defendant Sullivan.

       38. Mr. Stacey reported on this occasion that Defendant Walter learned during a break

that Mr. Stacey, David Cedar, and Mr. Ferry had voted to award Plaintiff the position. At this

point, Defendant Walter went into Defendant Sullivan’s office and met privately with him.

Defendant Sullivan then came into the Hiring Team room and advised the Hiring Team members

that Plaintiff did not have the experience Kirk Gregg, Corning’s Executive Vice President and

Chief Administrative Officer, required.

       39. Between January 11 and January 24, 2015, Plaintiff was away attending school to get

his A&P license. During this time period, Plaintiff had correspondence with Brad Cole as they

were trying to cheat him on his time.

       40. On or about January 26, 2015, Plaintiff returned from school having successfully

obtained his A&P license. Approximately ten (10) co-workers congratulated Plaintiff on securing

his license and expressed disbelief about not getting the mechanics job. Ken Stacey, John Walter,

and John Waschezyn all had gone through the apprenticeship program and were hired by

Defendant Corning Incorporated as mechanics after securing A&P licenses.

       41. On January 27, 2015, Plaintiff met with Defendant Manchester in the presence of

Defendant Walter. Defendant Manchester indicated that Brad Cole brought him Plaintiff’s time

card with overtime sought. Plaintiff asked about time spent on Saturday, to which Defendant

Manchester stated “we don’t pay overtime when you’re out of town. It’s a policy change with

new management, and I’m new management.”

       42. Thereafter, Plaintiff wrote an e-mail to Human Resources Representative Michael

Rathbun, indicating that he was being treated differently than other employees with respect to


                                                -9-
      Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 10 of 26




time and compensation, including Ken Stacey, who had previously gone through the

apprenticeship program and was compensated for his time spent in school on Saturday. It has

always been common practice at Corning Incorporated for employees to be paid for all the time

spent in class. Mr. Rathbun agreed that it was company policy that employees are paid for time

spent in training, regardless of the day.

       43. Later on January 27 - after the e-mail to Mr. Rathbun - Defendant Manchester called

Plaintiff into his office. Defendant Manchester stated, “did you have a problem with the answer I

gave you?” “I don’t know who you think you are, but you are free to take your license and walk

out the door.” In response, Plaintiff stated that he really wasn’t interested in getting paid the

overtime but noted that he did need a day off. Plaintiff was looking for a day to rest having just

returned from school. Defendant Manchester stated, “While you were away, we changed the

policy, you can no longer use comp time.” Plaintiff then stated, “I’ll take an unpaid day,” to

which Defendant Manchester responded “you can’t do that, you have to use your vacation time.”

Plaintiff told Defendant Manchester that vacation time had already been disapproved, and

Defendant Manchester had no real response. This forced Plaintiff to refrain from taking any time

off and sent a clear message to him and others that Plaintiff was being targeted.

       44. On February 4, 2015, Plaintiff met with Mr. Rathbun. Plaintiff complained about

retaliation and Mr. Rathbun stated that he spoke with Defendant Sullivan and that he (Mr.

Rathbun) had a lot of experience in Human Resources and didn’t see it.

       45. On February 8, 2015, Plaintiff, Scott Ray and Sid Spencer all put in for emergency

pay. They were called in two hours earlier than scheduled. Emergency pay is twice the average

rate of pay. Plaintiff and Mr. Ray e-mailed payroll to figure out how to log in emergency pay.


                                                 -10-
     Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 11 of 26




Payroll responded back by copying Defendant Manchester.

       46. During the week of February 8, 2015, there was a group meeting. Defendant Walter

stated that Plaintiff and the other two employees “stole from Corning.” Even though Defendant

Walter acknowledged that they had used the right code, he stated that they cannot collect

emergency pay because they are “on call 24/7.” Mr. Ray, Mr. Spencer, and Plaintiff responded.

Plaintiff stated that they were asked to come in early. Defendant Walter stated “anytime you go

outside the department there will be consequences.” Mr. Spencer left the meeting disgusted.

       47. Immediately thereafter, it was announced that the company was no longer going to

pay for lunch time, abandoning a sixty year practice of paying employees for lunch. Brad Cole

told employees that the reason they were no longer going to get paid lunches was because of

Plaintiff and Mr. Ray and Mr. Spencer.

       48. A couple of days later, Mr. Spencer was called into Defendant Manchester’s office

and asked to explain why he walked out. He said he didn’t appreciate being called a thief. Mr.

Spencer brought up how they were mistreating Plaintiff, which he stated made him sick.

       49. Approximately one week later, there was a group meeting where John Waschezyn

voiced disagreement with how Plaintiff was being treated and did so in the presence of

Defendants Manchester and Sullivan.

       50. On March 3, 2015, Mr. Ferry interjected himself in a conversation and stated to

Plaintiff in the presence of co-workers, Donald Yearick and Homer Northup, “Monte is behind

you not getting this job.”

       51. On March 5, 2015, a co-worker stated to Plaintiff “you won’t be getting the position

because you pissed them off by going uptown.”


                                              -11-
      Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 12 of 26




       52. On March 8, 2015, Mr. Ferry stated to Plaintiff that he would be more than willing to

talk to Defendant Sullivan but only if Plaintiff first apologized to him (Defendant Sullivan) for

making his complaint. Mr. Ferry further stated to Plaintiff, “You will have to suck up your

pride.” Plaintiff’s protected activity clearly was and is the but-for cause of his non-selection to a

position whereby he could utilize his A&P license and thus unlawful.

       53. On March 10, 2015, Defendant Walter reported that Mr. Rathbun and him were

working on a deal behind Defendants Manchester’s and Sullivan’s back to get Plaintiff a position

or an extended apprenticeship as they acknowledged that Plaintiff is being treated disparately and

unfairly. Further, despite the availability of positions and Defendant Manchester’s assurance to

Plaintiff that he had a “good shot,” Plaintiff has been totally blocked from consideration for

employment beyond his current position and denied the use of his A&P license at Corning

Incorporated.

       54. In sum, Plaintiff Joseph McIntyre has been refused a position whereby he is able to

use his A&P license. Upon information and belief, said adverse employment action is due to

disability and/or protected activity. Further, Plaintiff’s work environment has been strained as

employees are reluctant to even speak with him for fear of being retaliated against too.

       55. Defendants have caused Plaintiffs harm, injury and damage, including but not limited

to:

                (a)    Plaintiff Joseph McIntyre has been deprived of income in the form of

                       wages, promotional opportunities and job positions and assignments which

                       were made or denied because of Plaintiff’s disability and/or gender and/or

                       in retaliation for protected activity;


                                                 -12-
Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 13 of 26




       (b)   Plaintiff Joseph McIntyre has suffered physical harm in the form of

             tension, headaches, stomach aches, sleeplessness, nervousness, anxiety,

             fear and dread, extreme anxiety, embarrassment, humiliation, degradation,

             stress, depression, insomnia, anger, fear, family discord and dysfunction,

             stomach upset, and pain.

       (c)   Plaintiff Joseph McIntyre has been forced to suffer severe emotional

             distress, mental anxiety, depression, and psychological trauma;

       (d)   Plaintiff Joseph McIntyre has been denied equitable employment

             compensation, equitable employment terms and conditions and privileges

             of employment because of his disability and/or gender and/or in retaliation

             for protected activity;

       (e)   Plaintiff Joseph McIntyre has been subjected to damage to his good name,

             humiliation, indignity and shame;

       (f)   Plaintiff Joseph McIntyre has suffered injury to his family and community

             relations amongst his peers and co-workers;

       (g)   Plaintiff Anne McIntyre’s marital life and relationship with her husband

             has been negatively affected and altered due to the Defendants’ unlawful

             actions;

       (h)   Plaintiffs have been caused to incur legal fees and medical expenses; and

       (i)   Plaintiffs have been otherwise damaged.




                                       -13-
     Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 14 of 26




                     AS AND FOR A FIRST CAUSE OF ACTION FOR
                   DISABILITY DISCRIMINATION IN VIOLATION OF
                            THE REHABILITATION ACT

       56. Plaintiffs restate and re-allege paragraphs 1 through 55 as if fully stated herein.

       57. Upon information and belief, Defendant Corning Incorporated is a recipient of

Federal financial assistance and government contracts.

       58. Plaintiff Joseph McIntyre was discriminated against on the basis of having a

disability and/or being regarded as having a disability in violation of the Rehabilitation Act.

Inter alia, Plaintiff Joseph McIntyre has been denied positions due to disability as well as

subjected to a hostile work environment due to disability.

       59. Plaintiff suffered injury and harm as a result of the conduct of Defendants as set forth

in more detail above and is entitled to compensation therefor.

                AS AND FOR A SECOND CAUSE OF ACTION FOR
           RETALIATION IN VIOLATION OF THE REHABILITATION ACT

       60. Plaintiffs restate and re-allege paragraphs 1 through 59 as if fully stated herein.

       61. Upon information and belief, Defendant Corning Incorporated is a recipient of

Federal financial assistance and government contracts.

       62. Plaintiff Joseph McIntyre was retaliated against for engaging in protected activity, in

violation of the Rehabilitation Act. Inter alia, Plaintiff Joseph McIntyre has been denied

positions because of his protected activity as well as subjected to a retaliatory work environment.

       63. Plaintiff suffered injury and harm as a result of the conduct of Defendants as set forth

in more detail above and is entitled to compensation therefor.




                                                -14-
      Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 15 of 26




                    AS AND FOR A THIRD CAUSE OF ACTION FOR
              GENDER DISCRIMINATION IN VIOLATION OF THE NEW YORK
                           STATE HUMAN RIGHTS LAW

        64. Plaintiffs restate and re-allege paragraphs 1 through 63 as if fully stated herein.

        65. Plaintiff Joseph McIntyre was discriminated against on the basis of his gender in the

form of a hostile work environment, in violation of the New York Human Rights Law.

        66. Plaintiff suffered injury and harm as a result of the conduct of Defendants as set forth

in more detail above and is entitled to compensation therefor.

                   AS AND FOR AN FOURTH CAUSE OF ACTION FOR
                 DISABILITY DISCRIMINATION IN VIOLATION OF THE
                       NEW YORK STATE HUMAN RIGHTS LAW

        67. Plaintiffs restate and re-allege paragraphs 1 through 66 as if fully stated herein.

        68. Plaintiff Joseph McIntyre was discriminated against on the basis of his disability, in

violation of the New York Human Rights Law. Inter alia, Plaintiff Joseph McIntyre has been

denied positions due to disability as well as subjected to a hostile work environment due to

disability.

        69. Plaintiff suffered injury and harm as a result of the conduct of Defendants as set forth

in more detail above and is entitled to compensation therefor.

                    AS AND FOR A FIFTH CAUSE OF ACTION FOR
                RETALIATION IN VIOLATION OF THE NEW YORK STATE
                               HUMAN RIGHTS LAW

        70. Plaintiffs restate and re-allege paragraphs 1 through 69 as if fully stated herein.

        71. Plaintiff Joseph McIntyre was retaliated against for engaging in protected activity, in

violation of the New York Human Rights Law. Inter alia, Plaintiff Joseph McIntyre has been

denied positions because of his protected activity as well as subjected to a retaliatory work


                                                -15-
     Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 16 of 26




environment.

       72. Plaintiff suffered injury and harm as a result of the conduct of Defendants as set forth

in more detail above and is entitled to compensation therefor.

                      AS AND FOR A SIXTH CAUSE OF ACTION FOR
                               BREACH OF CONTRACT

       73. Plaintiffs restate and re-allege paragraphs 1 through 72 as if fully stated herein.

       74. Under the terms of Defendant Corning’s Code of Conduct, it agreed to refrain from

taking any action against an employee for raising in good faith issues involving violations of the

company’s Code of Conduct.

       75. The consideration Corning receives for making such promise is the receipt of

information from employees concerning violations of its Code of Conduct. A valid and binding

contract between Plaintiff and Defendant Corning thereby existed.

       76. Plaintiff duly performed his part of the contractual bargain in that he made

complaints/reports raising in good faith issues involving violations of Corning’s Code of

Conduct. Specifically, Plaintiff complained and reported violations of the Code of Conduct

which expressly condemn “any form of discrimination or harassment.”

       77. Defendant Corning did not perform its part of the contractual bargain in that it

subjected Plaintiff to retaliatory action for his good faith complaints/reports.

       78. Plaintiff suffered injury and harm as a result of the conduct of Defendant Corning

Incorporated as set forth in more detail above and is entitled to compensation therefor.

                   AS AND FOR A SEVENTH CAUSE OF ACTION FOR
                             PROMISSORY ESTOPPEL

       79. Plaintiffs restate and re-allege paragraphs 1 through 78 as if fully stated herein.


                                                 -16-
      Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 17 of 26




        80. By the terms of Defendant Corning’s Code of Conduct, it made a clear and

unambiguous promise to refrain from taking any action against an employee for raising in good

faith issues involving violations of the company’s Code of Conduct.

        81. It was reasonable and foreseeable to Defendant Corning that its promise of non-

retaliation would induce employees to make complaints and reports of violations of Corning’s

Code of Conduct.

        82. To his detriment, Plaintiff reasonably relied upon Defendant Corning’s promise of

non-retaliation in complaining and reporting violations of Corning’s Code of Conduct.

        83. Plaintiff suffered injury and harm as a result of his reliance of Defendant Corning’s

promise as set forth in more detail above and is entitled to compensation therefor.

                    AS AND FOR AN EIGHTH CAUSE OF ACTION FOR
                               LOSS OF CONSORTIUM

        84. Plaintiffs restate and re-allege paragraphs 1 through 83 as if fully stated herein.

        85. Plaintiff Anne McIntyre’s marital life and relationship with her husband has been

negatively affected and altered due to the Defendants’ actions against Plaintiff Joseph McIntyre.

As such, she is entitled to damages for loss of consortium.

        86. Defendants’ actions against Plaintiff Joseph McIntyre have affected Plaintiff Anne

McIntyre’s social and family life inasmuch as her happiness and general welfare have been

disturbed. Inter alia, she has been deprived of her husband’s comfort and companionship and

suffered disruption to her daily life.

        87. Plaintiff Anne McIntyre has suffered harm and injury from the Defendants’ actions

and is entitled to compensation therefor.



                                                -17-
     Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 18 of 26




       WHEREFORE, Plaintiffs respectfully request that this court assume jurisdiction herein

and thereafter:

       1. Award Plaintiffs appropriate compensatory and punitive damages in an amount to be

       defined and determined at the trial of this matter but no less than the sum of

       $1,000,000.00;

       2. Award disbursements and costs of this action;

       3. Grant the Plaintiffs injunctive and declaratory relief, including a declaratory judgment

       finding Defendants violated the rights of the Plaintiffs and precluding Defendants from so

       acting against others in the future; and

       4. Award such other and further relief as this court deems just and proper.

                                            JURY DEMAND

                  Plaintiffs demand a jury trial for all claims stated herein.


Dated: May 5, 2015
at Rome, New York
                                                                  s/A.J. Bosman

                                                                    A.J. Bosman, Esq.

                                                                 Bosman Law Firm, L.L.C.
                                                                 Attorneys for Plaintiffs
                                                                 Office and Post Office Address:
                                                                 6599 Martin Street
                                                                 Rome, New York 13440
                                                                 Telephone: (315) 336-9130




                                                   -18-
Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 19 of 26
Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 20 of 26
Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 21 of 26
Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 22 of 26
Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 23 of 26
Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 24 of 26
Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 25 of 26
Case 6:15-cv-06277-CJS-MWP Document 1 Filed 05/08/15 Page 26 of 26
